Case 4:19-cv-02406 Document 1-2 Filed on 07/03/19 in TXSD Page 1 of 7

                2019-06499 / Court: 151




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                          es
                                        rg
                                     Bu
                                   n
                                ily
                              ar
                           M
                         of
                       e
                    ffic
                 yO
              op
           C
         ial
      fic
   of
 Un
Case 4:19-cv-02406 Document 1-2 Filed on 07/03/19 in TXSD Page 2 of 7




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                          es
                                        rg
                                     Bu
                                   n
                                ily
                              ar
                           M
                         of
                       e
                    ffic
                 yO
              op
           C
         ial
      fic
   of
 Un
Case 4:19-cv-02406 Document 1-2 Filed on 07/03/19 in TXSD Page 3 of 7




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                          es
                                        rg
                                     Bu
                                   n
                                ily
                              ar
                           M
                         of
                       e
                    ffic
                 yO
              op
           C
         ial
      fic
   of
 Un
Case 4:19-cv-02406 Document 1-2 Filed on 07/03/19 in TXSD Page 4 of 7




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                          es
                                        rg
                                     Bu
                                   n
                                ily
                              ar
                           M
                         of
                       e
                    ffic
                 yO
              op
           C
         ial
      fic
   of
 Un
Case 4:19-cv-02406 Document 1-2 Filed on 07/03/19 in TXSD Page 5 of 7




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                          es
                                        rg
                                     Bu
                                   n
                                ily
                              ar
                           M
                         of
                       e
                    ffic
                 yO
              op
           C
         ial
      fic
   of
 Un
Case 4:19-cv-02406 Document 1-2 Filed on 07/03/19 in TXSD Page 6 of 7




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                          es
                                        rg
                                     Bu
                                   n
                                ily
                              ar
                           M
                         of
                       e
                    ffic
                 yO
              op
           C
         ial
      fic
   of
 Un
Case 4:19-cv-02406 Document 1-2 Filed on 07/03/19 in TXSD Page 7 of 7




                                                             k
                                                          ler
                                                       tC
                                                   ric
                                                ist
                                             sD
                                          es
                                        rg
                                     Bu
                                   n
                                ily
                              ar
                           M
                         of
                       e
                    ffic
                 yO
              op
           C
         ial
      fic
   of
 Un
